             Case 1:20-cv-00589-JMF Document 48 Filed 02/01/21 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                          :
 TAMEEKA BAKER,                                                           :
                                                                          :
                                              Plaintiff,                  :    20-CV-589 (JMF)
                                                                          :
                            -v-                                           :    ORDER TO SHOW
                                                                          :        CAUSE
 CITY OF NEW YORK, et al.,                                                :
                                                                          :
                                              Defendants.                 :
                                                                          :
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JESSE M. FURMAN, United States District Judge:

        The Complaint in this case was filed with the Court on January 22, 2020, see ECF No. 1,
and names “John Doe[s] (1)-(3)” as defendants, but the docket does not reflect that these John Doe
Defendants were ever identified or served with the Complaint. Accordingly, and notwithstanding
the next paragraph, it is hereby ORDERED that Plaintiff communicate with the Court, in writing, as
to why Plaintiff has failed to serve the summons and Complaint within the 90 days prescribed by
Rule 4(m) of the Federal Rules of Civil Procedure, or, if Plaintiff believes that the John Doe
Defendants have been served, when and in what manner such service was made. If the Court does
not receive any communication from Plaintiff by February 12, 2021, showing good cause why
such service was not made within the 90 days, the Court will dismiss Plaintiff’s claims against the
John Doe Defendants without further notice.

        On January 29, 2021, Plaintiff and Defendant City of New York (“City”), notified the Court
of a settlement between those parties and filed a stipulation of dismissal. ECF No. 46. Defendant
Franco’s cross-claims against Defendant City (as well as the John Doe Defendants), however,
remain, ECF No. 26 ¶¶ 66-68, so Defendant City should not be dismissed from the case at this time.
Plaintiff’s claims against Defendant Franco also remain pending but cannot proceed until the
pending criminal proceedings against him are resolved. In light of the inability to progress with any
of the remaining claims, the Court sees no reason to maintain this case on the Court’s active docket.
Accordingly, the Court hereby ORDERS this case administratively closed subject to the right of any
party to move to reopen it within 21 days of the resolution of the currently pending criminal
proceedings against Defendant Franco (or upon a showing of good cause regarding Plaintiff’s
failure to serve the John Doe Defendants).

        The Clerk of Court is directed to administrative close this case.

        SO ORDERED.
Dated: February 1, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
